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 7   ATTORNEYS FOR WASHOE COUNTY
     DEFENDANTS
 8

 9                              UNITED STATES DISTRICT COURT
10                                    DISTRICT OF NEVADA
11                                               ***
12   DREW RIBAR,
13                 Plaintiff,                           Case No. 3:24-CV-00526-ART-CSD
14          vs.
                                                        MOTION REGARDING DISCOVERY
15   WASHOE COUNTY, NEVADA;                             DISPUTE – RECORDING
     WASHOE COUNTY LIBRARY                              DEPOSITIONS
16   SYSTEM; BUILD OUR CENTER, INC.;
     JEFF SCOTT; STACY MCKENZIE;
17   JONNICA BOWEN; LIBRARY
     EMPLOYEE DOE #1; JENNIFER COLE;
18   DEPUTY C. ROTHKIN (BADGE #5696);
     DEPUTY R. SAPIDA (BADGE #4663;
19   SGT. GEORGE GOMEZ (BADGE
     #4066); AND JOHN/JANE DOES 1+10,
20
                   Defendants.\
21                                                /
22          Washoe County, Washoe County Library System, Jeff Scott, Stacy McKenzie,
23   Jonnica Bowen, Jennifer Cole, Deputy Rothkin, Deputy Sapida, and Sgt. Gomez (“Washoe
24   County Defendants”) through counsel, Lindsay L. Liddell, Deputy District Attorney, hereby
25   file their Motion for Protective Order Restricting Publication of Discovery Materials. This
26   //




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 1   Motion is based on FRCP 26(c), the pleadings and papers on file, and the following

 2   Memorandum of Points and Authorities.

 3                     MEMORANDUM OF POINTS AND AUTHORITIES

 4      I.       INTRODUCTION

 5            This Motion seeks to address deposition recording following the Court’s Order

 6   regarding the County Defendants’ Motion for Protective Order. (ECF No. 64); (ECF No.

 7   89). Prior to the Court’s Order, County Defendants did not oppose audio or video recording

 8   of depositions, but sought a protective order preventing Plaintiff from publishing or using the

 9   recordings for any nonlitigation purposes. The Court found that there were specific threats

10   of harm warranted a protective order, but declined to indefinitely exercise jurisdiction on the

11   issue. Plaintiff, on the other hand, continued to express his intent to publish deposition

12   recordings on YouTube and other social media once the case concludes.

13            A protective order is warranted to prohibit audio or video deposition recordings in

14   this case. Recording should be limited to stenographic means by a certified court reporter to

15   prevent misuse of the recordings and protect County Defendants and defense counsels from

16   threats of harassment, embarrassment and oppression that would arise upon Plaintiff’s

17   misuse. There is good cause to prohibit deposition recording other than by stenographic

18   means in this case. The Court should preclude Plaintiff or any other person from recording

19   audio, recording video or photographing depositions.

20      II.      MEET AND CONFER

21            Undersigned counsel attempted to meet-and-confer in good faith, but Plaintiff

22   declined to engage in a telephonic meet and confer. Ex. 1 at ¶¶2−4. On May 1, 2025,
23   undersigned counsel emailed Plaintiff requesting to meet and confer via telephone regarding

24   deposition recording, explaining that the rules and Court’s Standing Order do not permit

25   meet and confers via email, and provided Plaintiff with case law supporting County

26   Defendants’ position on prohibiting recording. Id. at ¶2. On May 5, 2025, Plaintiff




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 1   acknowledged the request, but stated he wished to discuss the matter via email, stated he

 2   would not “disseminate deposition recordings during litigation,” but stated that his “intent

 3   to record depositions audiovisually under FRCP 30(b)(3) is for post-litigation publication as

 4   permitted by the Court…” Id. at ¶3. Based on this communication, County Defendants

 5   presumed Plaintiff declined to conduct a telephonic meet and confer, and clarified to Plaintiff

 6   that the Court did not permit deposition video publication. Id. at ¶4. The parties are unable

 7   to reach an agreement on this issue, and thus County Defendants file the instant motion.

 8        III.    LEGAL ANALYSIS

 9           A.     VIDEO AND AUDIO RECORDINGS OF DEPOSITIONS ARE INAPPROPRIATE IN
                    THIS CASE.
10

11           The Court has broad discretion over discovery and “substantial latitude to fashion

12   protective orders.” See Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984). County

13   Defendants incorporate their Motion for Protective Order as though fully set forth herein.

14   (ECF Nos. 64, 72, 75). This Court already found there are particularized threats of harm to

15   the County Defendants if Plaintiff published depositions recordings. See (ECF No. 89)

16   Understandably, the Court did not wish to continue exercising jurisdiction over the

17   Protective Order upon conclusion of the case. See id. But, this leaves County Defendants and

18   defense counsel exposed to threats of harm upon conclusion of the case based on Plaintiff’s

19   unambiguous assertions that he intends to publish deposition video onto his YouTube

20   channel.

21           The most effective and just way to fully protect County Defendants from further

22   threats of harassment, humiliation, and oppression is to prohibit the audio or video

23   recordings of depositions. Under Rule 30, a deposition may be recorded by “audio,

24   audiovisual [video], or stenographic means” by a person certified under Rule 28. FRCP

25   30(b)(3)(A); FRCP 30(b)(5). “Courts possess wide discretion in determining the manner for

26   //




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 1   taking depositions…” Swenson v. Geico Cas. Co., 336 F.R.D. 206, 209 (D. Nev. 2020) objection

 2   overruled, 2:19-cv-01639-JSM-NJK, 2020 WL 8871311 (D. Nev. Aug. 26, 2020).

 3          Courts have prohibited videotaping depositions when a party “demonstrates a real

 4   risk” that another party “will use the videotape for purposes unrelated to the resolution of

 5   this litigation…”AFT Michigan v. Project Veritas, CV 17-13292, 2023 WL 2890152, at *5 (E.D.

 6   Mich. Apr. 10, 2023); see also BioConvergence LLC v. Attariwala, 1:19-cv-1745-SEB-MG, 2022

 7   WL 6603560, at *3 (S.D. Ind. Sept. 12, 2022)(prohibiting party from “recording (audio,

 8   visual, or otherwise) the deposition or taking photos by any means whatsoever during the

 9   duration of the deposition”); Willis v. CLECO Corp., 09-CV-2103, 2021 WL 13253345, at *2

10   (issuing sua sponte order prohibiting video depositions absent court order when deposition

11   video was posted by third parties and bloggers and commentators responses regarding the

12   deponents included “lying whore bitch,” and “Nazi”). “District of Nevada judges liberally

13   permit video depositions unless it appears that the video was requested to intimidate a witness…”

14   Clark v. Thomas, 2:09-CV-02272-JAD, 2014 WL 2612275, at *2 (D. Nev. June 11,

15   2014)(emph. added). “Videotaped depositions… are not intended to provide ‘a vehicle for

16   generating contact for broadcast or other media.’” Stern v. Cosby, 529 F.Supp.2d 417, 422−23
17   (S.D.N.Y. 2007)(citations omitted).

18          Here, any potential positive use of audio or video deposition recordings is outweighed

19   by the potential for abuse. County Defendants were not opposed to videotaping deposition

20   if Plaintiff could be indefinitely prohibited from abusing recordings by posting them to social

21   media. At the outset of the case, Plaintiff responded to a comment on one of his YouTube

22   videos about this case that he was “Looking forward to recording depositions…” (ECF No.

23   64-6 at p. 22). Plaintiff since stated multiple times that he intends to publish deposition

24   footage on his YouTube channel, which contains edited videos with inflammatory and

25   misleading captions and titles. (ECF No. 64-3 at p.3); (ECF No. 72 at p. 6)(declaring under

26   oath that Plaintiff will not post discovery until the case resolves); Ex. 1 at ¶3. Plaintiff




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 1   reiterated his intent on May 5, 2025, via email stating, “My intent to record depositions

 2   audiovisually under FRCP 30(b)(3) is for post litigation publication as a journalist, as

 3   permitted by the Court…” Ex. 1 at ¶3.

 4            Based on the Court’s Order and Plaintiff’s statements, there is a clear and specific

 5   threat that audio or video deposition recordings will be posted on YouTube and subject

 6   County Defendants and defense counsels to harassment upon the conclusion of this case. See

 7   id.; (ECF Nos. 64-5, 64-6, 64-7, 64-8, 64-9, 64-10). Limiting deposition recording to

 8   stenographic means will ensure accuracy in recording, while protecting the parties from

 9   harassment that will likely occur at the conclusion of this case if the Court does not prohibit

10   video and audio recording.

11      IV.      CONCLUSION

12            The Court should issue a protective order prohibiting audio or video recordings of

13   depositions in this case, including by Plaintiff, a certified court reporter, or any other person.

14   Based on Plaintiff’s statements that he intends to use deposition video for purposes other

15   than litigating this case, and based on the particularized threats of harm already recognized

16   by this Court, there is good cause to issue such an order. Depositions in this case should be

17   limited to recording by stenographic means.

18            Dated this 5th day of May, 2025.

19

20                                                By      /s/ Lindsay L. Liddell
                                                       LINDSAY L. LIDDELL
21                                                     Deputy District Attorney
                                                       ANDREW COBI BURNETT
22                                                     Deputy District Attorney

23                                                     ATTORNEYS FOR WASHOE COUNTY
                                                       DEFENDANTS
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 1                                  CERTIFICATE OF SERVICE

 2          Pursuant to FRCP 5(b), I certify that I am an employee of the Office of the District

 3   Attorney of Washoe County, over the age of 21 years and not a party to nor interested in the

 4   within action. I certify that on this date, I deposited for mailing in the U.S. Mails, with

 5   postage fully prepaid, a true and correct copy of the foregoing document in an envelope

 6   addressed to the following:

 7   DREW RIBAR
     3480 PERSHING LANE
 8   WASHOE VALLEY. NV 89704
 9          I certify that on this date, the foregoing was electronically filed with the United States
10   District Court. Electronic service of the foregoing document shall be made in accordance
11   with the Master Service List as follows:
12   DREW RIBAR
13   ALISON R. KERTIS, ESQ.
14          Dated this 5th day of May, 2025.
15                                                       /s/ S. Haldeman
                                                         S. Haldeman
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 1                                  EXHIBIT INDEX

 2   EXHIBIT 1       Declaration of Lindsay L. Liddell                     1 page

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